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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 7

    BAYOU STEEL BD HOLDINGS, L.L.C.,                         Case No. 19-12153 (KBO)
    et al., 1

                              Debtors.                       (Jointly Administered)


    GEORGE L. MILLER, in his capacity as
    Chapter 7 Trustee for the jointly administered
    bankruptcy estates of Bayou Steel BD                     Adv. Proc. No.: 21-51013 (KBO)
    Holdings, L.L.C., et al.,
                                                             Re: Adv. D.I. 1
                              Plaintiff,

              v.

    BLACK DIAMOND CAPITAL
    MANAGEMENT, L.L.C.; BDCM
    OPPORTUNITY FUND IV, L.P.; BLACK
    DIAMOND COMMERCIAL FINANCE,
    L.L.C.; SAM FARAHNAK; PHIL
    RAYGORODETSKY; ROB
    ARCHAMBAULT; TERRY TAFT; and BOB
    UNFRIED,

                              Defendants.


                        INDEPENDENT DIRECTORS’ MOTION TO DISMISS

             Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable to these

proceedings by Rule 7012 of the Federal Rules of Bankruptcy Procedure, Defendants Rob

Archambault, Terry Taft, and Bob Unfried (collectively, the “Independent Directors”), hereby



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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
             identification number, are Bayou Steel BD Holdings, L.L.C., a Delaware limited liability company
             (1984), BD Bayou Steel Investment, LLC, a Delaware limited liability company (1222), and BD
             LaPlace, LLC, a Delaware limited liability company (5783).
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move to dismiss with prejudice each of the Counts of Plaintiff’s Complaint asserted against them

(Claims Nine, Eleven, and Twelve). In support of hereof, the Independent Directors incorporate

their contemporaneously filed Opening Brief.

Dated: November 22, 2021                   BENESCH, FRIEDLANDER, COPLAN &
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                                           Taft, and Bob Unfried




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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 22, 2021, I caused the foregoing to be filed with the

Clerk of Court using the CM/ECF system, which will then send a notification of such filing to

the following:

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